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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

JOHN J. MIRANDA,                                 )
                                                 )
                        Plaintiff,               )
                                                 )
        v.                                       )        No.: 1:19-cv-07039
                                                 )
JOSE R. GRIJALBA, and JAMES                      )
GRIFFITH, individually, and                      )
as employees, agents and/or servants of          )
ALAN RITCHEY, INC.                               )
                                                 )
                        Defendants.              )

                                     AGREED DISMISSAL ORDER

       THIS MATTER coming to be heard before this Honorable Court, the parties in agreement
and the Court being fully advised, IT IS HEREBY ORDERED:

        1. All parties hereto, by their respective attorneys, have reached a full settlement and
           compromise of all matters at issue herein, including the issues raised in the Plaintiff’s
           Complaint;

        2. Pursuant to the settlement, all claims, including Third-Party claims, counter claims or cross
           claims are dismissed with prejudice, with each party to bear its own costs;

        3. The Court shall retain jurisdiction to enforce the terms of the settlement, to adjudicate any and
           all liens, approval where necessary, and any other pendant matters;

        4. Voluntary mediation was not utilized in reaching this settlement.




        Dated: 8/24/2020                                  JUDGE
